          Case 5:20-cv-05585-ETH Document 48 Filed 03/31/22 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

  JARED CARTY and PIMPORN CARTY                     :
                                                    :
                 Plaintiffs,                        :       C.A. No. 5:20-cv-05585-JFL
                                                    :
                                                    :
         v.
                                                    :
                                                    :
  STEEM MONSTERS CORP. (d/b/a                       :
  SPLINTERLANDS) (successor to Steem                :
  Monsters, LLC), STEEM ENGINE CORP.,               :
  BLAIR JESSE REICH, and MATTHEW J.                 :
  ROSEN,                                            :
                                                    :
                 Defendants.                        :
                                                    :
                                                    :

                                       NOTICE OF SERVICE

       I certify that on March 30, 2022, a true and accurate copy of Defendants’ Objections and

Responses to Plaintiffs’ Second Set of Requests for Production of Documents, and Defendants’

Objections and Responses to Plaintiffs’ Third Set of Requests for Production of Documents were

served via email on the following:

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  (d/b/a Splinterlands) (successor to Steem             (d/b/a Splinterlands) (successor to Steem
  Monsters LLC), Steem Engine Corp., Blaire Jesse       Monsters LLC), Steem Engine Corp., Blaire Jesse
  Reich and Matthew J. Rosen                            Reich and Matthew J. Rosen
